        Case
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IN THE UNITED STATES DISTRICT COURT, NORTHERN DISTRICT
             OF GEORGIA, ATLANTA DIVISION

CORECO JA’QAN PEARSON, VIKKI TOWNSEND
CONSIGLIO, GLORIA KAY GODWIN, JAMES
KENNETH CARROLL, CAROLYN HALL FISHER,                          CASE NO.
CATHLEEN ALSTON LATHAM, JASON M
SHEPHERD, on behalf of the COBB COUNTY                         1:20-cv-4809
REPUBLICAN PARTY and BRIAN JAY VAN
GUNDY,

Plaintiffs,

v.

BRIAN KEMP, in his official capacity as Governor of
Georgia, BRAD RAFFENSPERGER, in his official
capacity as Secretary of State and Chair of the
Georgia State Election Board, DAVID J. WORLEY,
in his official capacity as a member of the Georgia
State Election Board, REBECCA N. SULLIVAN, in
her official capacity as a member of the Georgia State
Election Board, MATTHEW MASHBURN, in his
official capacity as a member of the Georgia State
Election Board, and ANH LE, in her official capacity
as a member of the Georgia State Election Board,

Defendants.

      This matter comes before the Court on Plaintiffs’ Motion to File

Affidavits Under Seal And For In Camera Review pursuant to LR 7.5 and

65.1, and Section II(J) of Appendix H to the Local Rules, and having shown

that the requested relief that certain affidavits be sealed with specific

identification of the portions for which sealing is necessary, the likelihood of
       Case
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injury to the interests of the affiants if public disclosure were made, and the

lack of less onerous alternatives to the sealing of the affidavits to protect the

personal safety and harm to the interests of the affiants, and for good cause

appearing;



      IT IS HEREBY ORDERED that Plaintiffs’ Motion is GRANTED, and

the affidavits to be filed under seal until further order of the Court, and

Plaintiffs are permitted to file these affidavits with the identifying

information redacted in the public docket.



Dated: December 4, 2020.


                                      ___________________________
                                      The Honorable Timothy C. Batten
                                      U.S. District Court Judge
